     Case 2:24-cv-01123-SPL          Document 37    Filed 09/18/24     Page 1 of 4




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 6                        IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8    Stenson Tamaddon LLC,                     )    No. CV-24-01123-PHX-SPL
                                                )
 9                                              )
                        Plaintiff,              )    RULE 16
10    vs.                                       )    CASE MANAGEMENT ORDER
                                                )
11                                              )
      United States Internal Revenue            )
12    Service, et al.,                          )
                                                )
13                                              )
                        Defendants.             )
14                                              )
15
            The parties have met and prepared a Joint Stipulation to Set Scheduling Order (Doc.
16
     36). On the basis of the parties’ submissions and the Court’s considered assessment,
17
            IT IS ORDERED that the Joint Stipulation to Set Scheduling Order (Doc. 36) is
18
     granted.
19
            IT IS FURTHER ORDERED as follows:
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     I.     Governing Rules and Preliminary Order
21
            Both counsel and pro se litigants must abide by the Local Rules of Civil Procedure
22
     (“LRCiv” or “Local Rules”), Rules of Practice of the U.S. District Court for the District of
23
     Arizona, and the Federal Rules of Civil Procedure.
24
            The Court’s Preliminary Order (Doc. 7) is incorporated by reference and remains in
25
     effect. To any extent the Preliminary Order differs from this Order, this Order shall govern.
26
     II.    Joining Parties and Amending Pleadings
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            Any motion for leave to amend or notice of amendment must be filed in accordance
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     Case 2:24-cv-01123-SPL          Document 37        Filed 09/18/24   Page 2 of 4




 1   with Rule 15.1 of the Local Rules of Civil Procedure. Any motion or notice that does not
 2   comply with the local and federal rules may be stricken by the Court.
 3   III.     Administrative Record
 4            The Administrative Record shall be filed no later than October 4, 2024. Any request
 5   to supplement the Administrative Record shall be filed no later than October 25, 2024.
 6   Before filing any such request, the parties shall meet and confer in a good faith effort to
 7   reduce issues in dispute regarding the Administrative Record.
 8   IV.      Briefing
 9            Motion for Summary Judgment: Plaintiff shall file a motion for summary
10   judgment by December 6, 2024. The motion shall not exceed twenty-seven (27) pages.
11            Response Brief and Cross Motion: Defendants shall file a consolidated opposition
12   and cross-motion no later than thirty (30) days after service of the motion for summary
13   judgment. The consolidated opposition and cross-motion shall not exceed twenty-seven
14   (27) pages.
15            Reply Brief and Response to Cross Motion: Plaintiff shall file a consolidated
16   reply in support of the motion for summary judgment and opposition to the cross-motion
17   no later than thirty (30) days after service of the consolidated opposition and cross-motion.
18   The reply in support of the motion for summary judgment and opposition to the cross-
19   motion shall not exceed twenty-seven (27) pages.
20            Final Reply: Defendants shall file a final reply in support of the cross-motion no
21   later than fifteen (15) days after service of the reply in support of the motion for summary
22   judgment and opposition to the cross-motion. The final reply shall not exceed fifteen (15)
23   pages.
24   V.       Settlement Discussions
25            All parties and their counsel shall meet in person and engage in good faith settlement
26   talks no later than November 8, 2024. Upon completion of such settlement talks, and in
27   no event later than five (5) working days after the deadline for settlement talks, the parties
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     Case 2:24-cv-01123-SPL         Document 37        Filed 09/18/24   Page 3 of 4




 1   shall file with the Court a joint report on settlement talks executed by or on behalf of all
 2   counsel. The report shall inform the Court that good faith settlement talks have been held
 3   and shall report on the outcome of such talks. The parties shall indicate whether assistance
 4   from the Court is needed in seeking settlement of the case. The parties shall promptly notify
 5   the Court at any time when settlement is reached during the course of this litigation.
 6          The parties are reminded that they may request to refer this action to a magistrate
 7   judge pursuant to LRCiv 83.10 for the purpose of holding a settlement conference
 8   (mediation), minitrial, summary jury trial, early neutral evaluation, or other form of dispute
 9   resolution. Alternative dispute resolution, however, shall not be used as a reason to delay
10   the processing of this case.
11   VI.    Additional Guidelines
12          Communication with the Court: As a general matter, all communications with the
13   Court should be made on the record. Telephone calls regarding routine administrative
14   matters in civil cases should be directed to Chambers at (602) 322-7550. No member of
15   Chambers staff will provide the parties with legal advice concerning any matter.
16          Oral Argument and Evidentiary Hearings: This Court does not have a preset
17   schedule for setting oral arguments and evidentiary hearings. The Court will schedule oral
18   arguments and evidentiary hearings when warranted and advise the parties accordingly.
19   Any party desiring oral argument should request it by noting it below the title of the related
20   filing, see LRCiv 7.2(f); such requests should be made in instances where it would assist
21   the resolution of the motion, and not merely made as a matter of course. Any party desiring
22   an evidentiary hearing should request it in the body of its filing. Separate motions or
23   requests for oral argument or evidentiary hearings are subject to being stricken or may be
24   modified on the docket to a notice.
25          PDF Text Searchable Format: All electronic filings must be filed in a PDF text
26   searchable format in accordance with LRCiv 7.1(c).
27          Copies: A paper copy of any document exceeding ten (10) pages in length shall be
28   submitted to chambers promptly following its electronic filing. Paper copies of documents


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     Case 2:24-cv-01123-SPL         Document 37         Filed 09/18/24   Page 4 of 4




 1   which are too large for stapling must be submitted in a three-ring binder. Electronic copies
 2   of proposed orders or findings shall be emailed to chambers in Microsoft Word® format at
 3   Logan_Chambers@azd.uscourts.gov.
 4          Font: All memoranda filed with the Court must comply with Local Rule of Civil
 5   Procedure 7.1(b) requiring 13 point font in text and footnotes.
 6          Citations: Citations in support of any assertion in the text shall be included in the
 7   text, not in footnotes.
 8   VII.   Final Advisals
 9          Noncompliance: The parties are specifically admonished that failure to prosecute,
10   to comply with court orders, or to comply with the local and federal rules may result in
11   dismissal of all or part of this case, imposition of sanctions, or summary disposition of
12   matters pending before the Court. See Fed. R. Civ. P. 41; LRCiv 7.2 (“[i]f a motion does
13   not conform in all substantial respects with the requirements of [the Local Rules], or if the
14   opposing party does not serve and file the required answering memoranda… such
15   noncompliance may be deemed a consent to the denial or granting of the motion and the
16   Court may dispose of the motion summarily”).
17          Deadline Extensions: The parties are advised that the Court intends to enforce the
18   deadlines and guidelines set forth in this Order, and they should plan their litigation
19   activities accordingly. Even if all parties stipulate to an extension, the Court will not extend
20   the deadlines absent good cause to do so. As a general matter, the pendency of settlement
21   discussions or the desire to schedule mediation does not constitute good cause.
22          Dated this 17th day of September, 2024.
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24                                                        Honorable Steven P. Logan
                                                          United States District Judge
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